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                  UNITED STATES BANKRUPTCY COURT
                  EASTERN DISTRICT OF PENNSYLVANIA
                         Philadelphia Division

Stephanie Joanne Jahr,                     Chapter 13
                                           Case No. 23-13774
                                 Debtor.

                       Debtor’s Motion to Reinstate Case

      Debtor Stephanie Joanne Jahr, through her attorney, moves this Court as

follows:

      1. The Debtor filed a bankruptcy petition on December 13, 2023.

      2. The Debtor has filed a plan and all schedules, statements, and other

documents required by 11 U.S.C. §521(a)(1) and Fed. R. Bankr. P. 1007(b). This case

is assigned to standing Trustee Scott F. Waterman.

      3. This case was dismissed on May 22, 2024, for failure to make plan

payments.

      4. The Debtor’s plan payments were past-due in the amount of $1,800.00 when

this case was dismissed.

      5. The Debtor intends to pay $1,800.00 to the Trustee prior to the hearing on

this Motion.

      6. The Debtor requests that this case be reinstated.

      For those reasons, the Court must grant relief in the form of order attached,

and further in the Debtor's favor if necessary and proper under the law.
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Date: May 29, 2024                    CIBIK LAW, P.C.
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